Case: 4:17-cv-02707-AGF Doc. #: 189 Filed: 05/13/21 Page: 1 of 3 PageID #: 4828



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION


  JAMES CODY, et al.,                  )
                                       )
        Plaintiffs,                    ) Case No. 4:17-cv-2707
                                       )
  v.                                   )
                                       )
  CITY OF ST. LOUIS, etc.,             )
                                       )
        Defendant.                     )


   MOTION FOR EXTENSION OF TIME TO RESPOND TO SANCTIONS MOTION

        Plaintiffs have filed a motion for sanctions alleging

  spoliation and demanding sanctions against defendant City

  and counsel. ECF 179.       Defendant City respectfully moves

  the Court to grant an extension of time to file its

  response to this fact-intensive motion, to and including

  May 25, 2021. In support, defendant states:

        1.     Plaintiff's motion was filed on May 3, 2021.

  Defendant's response is currently due on May 17, 2021.

        2.     Lead counsel for defendant has been engaged in

  multiple matters requiring his attention, including a pre-

  trial compliance due May 17, a response to another motion

  to compel of plaintiffs in this cause due May 14, preparing

  a response to Cody plaintiffs' seventh request for

  production and responding to Cody plaintiffs' 313 requests

  for admission; preparation for 7 depositions, including
Case: 4:17-cv-02707-AGF Doc. #: 189 Filed: 05/13/21 Page: 2 of 3 PageID #: 4829



  three expert depositions, over the course of the next two

  weeks; briefs in the Court of Appeals for the Eighth

  Circuit due May 24 and June 1; and various other state and

  federal court proceedings.         Co-counsel are either new to

  this case or have had no significant involvement in the

  discovery disputes catalogued by plaintiffs.             Counsel

  require additional time in order to prepare an adequate

  response.

        3.     The issues presented by the motion for sanctions,

  as noted, are fact-intensive, and some of the alleged

  misconduct has been known to plaintiffs since January 2020.

  ECF 180-13 (produced by City in January, 2020).             The Court

  has had recent experience with plaintiffs' tendency to

  exaggerate in regard to conditions at the Medium Security

  Institution, see ECF 156-57, 161, and defendant City is

  working diligently to present a complete and accurate

  picture of the discovery issues raised by plaintiffs, but

  defendant's counsel simply require more time.

        4.     Defendant City's response is further complicated

  by the change in City administration, the resignation of

  the Corrections Commissioner, and various inquiries

  concerning riots at the City Justice Center--all of which

  are time-consuming for Corrections staff on whom




                                      2
Case: 4:17-cv-02707-AGF Doc. #: 189 Filed: 05/13/21 Page: 3 of 3 PageID #: 4830



  defendant's counsel must rely to obtain any additional

  needed information.

        5.     Plaintiffs' counsel have declined to consent to

  this motion, which is not asserted for purposes of delay or

  any improper purpose.       Resolution of plaintiffs' motion

  need have no effect on the current date (June 1) for

  closure of discovery.

        WHEREFORE, defendant City requests that it be granted

  to and including May 25, 2021, to respond to the motion for

  sanctions.

                                       Respectfully submitted,
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